To: USDC Judge Vietor Marrero    Page 2 of 3           2019-03-14 15:04:18 (GMT)
                                                                            16463045277                           From: Robert Seiden
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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


              WAYNE BALIGA, derivatively on behalf of
              LINK MOTION INC. (F/K/A NQ MOBILE INC.)                                    l: 18-cv-11642

                                               Plaintiff,                            ORDER TO SHOW CAUSE
                                -against-                                               FOR CONTEMPT

              LINK MOTION INC. (F/K/A NQ MOBILE INC.),
              VINCENT WENYONG SHI,
              JIA LIAN,
              XIAO YU,                                                                 l ; DC >; , "y
                                               Defendants,                            IJUCUJ\IENT
                                -and-

              LINK MOTION lNC. (F/KJA NQ MOBILE INC.),
                                                                                     , F LLCTRONICALLY
                                                                                    ,' ,,,JC#:
                                                                                    [ D.\TF   ~'LED:
                                                                                                          2fz5117
                                                                                                               FILED



                                                Nominal Defendant.




                      Upon the affinnations of Michael D. Cilento, Esq., dated March, 14 2019 and Robert W. Seiden,

              Esq., dated March 14, 2019 and the exhibits attached thereto; the Memorandum of Law in Support of

              Order to Show Cause for Contempt dated March 14.2019; and upon all the pleadings relevant to this

              action, and with good cause appearing, it is hereby:

                      ORDERED THAT, Defendant Vincent Shi ("Defendant Shi") show cause before this Court at

              Room    t(B         , United States Courthouse, 500 Pearl Street, in the City, County, and State of New

              York. on   f{uc~?-!j             _ _ , 2019,   atf/-?LJ tZ~it        o'clock in the noon thereof. or as soon

             thereafter as counsel may be heard, why an order should not be issued pursuant to 18 U.S.C § 401(3)

             holding Defendant Shi in contempt of this Court· s Fchrnary I, 20 I 9 Order ("Receivership Order'') and

              issuing a civil capias arrest warrant as a coercive sanction until the time that Defendant Shi complies

             with the Receivership Order; and
To: USDC Judge VictorCase
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                                                                33(GMT)
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                                                                                           16463045277   From: Robert Seiden




                     IT lS FURTHER ORDERED THAT that a copy of this Order and the accompanymg

            affinnations, the exhibits thereto, and the Memorandum of Law in Supp01t, shall be served immediately

            on Defendant Shi by email at vinccnt«vlkmotion.com and by WeChat at +86 135 0123 3445, and that

            such service shall be deemed good and sufficient service thereof.

            SO ORDERED.




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            Dated:    March /..S--2019
                      New York, New York


                                                        I16n.victorMarr
                                                        United States District Judge
